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                EXHIBIT 2
UNREDACTED VERSION
   OF DOCUMENT
SOUGHT TO BE SEALED
     Case 3:17-cv-00939-WHA Document 946-4 Filed 07/18/17 Page 2 of 6

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 9
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10
                              UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                 SAN FRANCISCO DIVISION
13
     WAYMO LLC                                  Case No. 17-cv-00939-WHA
14
                Plaintiff,                      PLAINTIFF’S LIST OF ASSERTED
15                                              TRADE SECRETS PURSUANT TO CAL.
           v.                                   CODE CIV. PROC. SECTION 2019.210
16
     UBER TECHNOLOGIES, INC.;
17   OTTOMOTTO, LLC; OTTO TRUCKING              DOCUMENT FILED UNDER SEAL
     LLC,
18
                Defendants.
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                        PLAINTIFF’S LIST OF ASSERTED TRADE SECRETS
                      PURSUANT TO CAL. CODE CIV. PROC. SECTION 2019.210
                                   Case No. 17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 946-4 Filed 07/18/17 Page 3 of 6

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 1         •

 2             presentation that was among files downloaded by Anthony Levandowski in January

 3             2016. This presentation includes

 4             reproduced below:

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13
               (Ex. 13 at 29.)
14

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17

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19
           •   See supra, ¶ 9, second bullet for reasonable steps taken to maintain secrecy.
20
           •   The trade secret claimed is
21
                                                                                                      (Ex.
22
               13 at 29).
23
     85.                                                     (Ex. 14).
24
           •   This Excel spreadsheet was included among files downloaded by Anthony Levandowski
25
               in January 2016. This confidential document contains detailed technical information
26
               about                                                                           This
27
               information derives value from not being generally known to the public or to competitors
28
                                                       48
                            FIRST LIST OF ASSERTED TRADE SECRETS PURSUANT
                                 TO CAL. CODE CIV. PROC. SECTION 2019.210
                                          Case No. 17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 946-4 Filed 07/18/17 Page 4 of 6

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 1             because it is important information for a competitor seeking to replicate what Waymo

 2             was doing and where it hoped to get. Such information includes

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12         •   See supra, ¶ 9, second bullet for reasonable steps taken to maintain secrecy.

13         •   The trade secret claimed is the information contained in the

14

15   86.                                      (Ex. 15).

16         •   This document was included among files downloaded by Anthony Levandowski in

17             January 2016. This confidential document contains

18

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24         •   See supra, ¶ 9, second bullet for reasonable steps taken to maintain secrecy.

25         •   The trade secret claimed is

26

27   87.                                       (Ex. 16).

28
                                                       49
                            FIRST LIST OF ASSERTED TRADE SECRETS PURSUANT
                                 TO CAL. CODE CIV. PROC. SECTION 2019.210
                                          Case No. 17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 946-4 Filed 07/18/17 Page 5 of 6

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 1      •   The trade secret claimed is

 2

 3   107.

 4

 5      •   These schematics were included among files downloaded by Anthony Levandowski on

 6          December 11, 2015 from Waymo’s SVN schematic repository folders

 7                               These schematics derive economic value from not being generally

 8          known to the public or to competitors because they contain extensive details regarding

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14      •   See supra, ¶ 94, second bullet for reasonable steps taken to maintain secrecy.

15      •   The trade secret claimed is

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18      •   These schematics were included among files downloaded by Anthony Levandowski on

19          December 11, 2015 from Waymo’s SVN schematic repository folders

20          These schematics derive economic value from not being generally known to the public or

21          to competitors because they contain

22

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27      •   See supra, ¶ 94, second bullet for reasonable steps taken to maintain secrecy.

28      •   The trade secret claimed is
                                                    61
                         FIRST LIST OF ASSERTED TRADE SECRETS PURSUANT
                              TO CAL. CODE CIV. PROC. SECTION 2019.210
                                       Case No. 17-cv-00939-WHA
     Case 3:17-cv-00939-WHA Document 946-4 Filed 07/18/17 Page 6 of 6

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 1
 2   109.

 3

 4      •   Anthony Levandowski downloaded over 14,000 PCB design files on December 11, 2015

 5          from Waymo’s SVN schematic repository, covering each and every project developed at

 6          Waymo. These confidential design schematics

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13      •   See supra, ¶ 94, second bullet for reasonable steps taken to maintain secrecy.

14      •   The trade secret claimed is

15

16          J.    Waymo’s LiDAR System Design Know-How, Including Accumulated
                  Knowledge About Failed Designs
17
     110.
18
        •   One LiDAR design Waymo explored
19

20
                                                                              derives economic value
21
            from not being generally known to the public or to competitors because it reflects
22
            significant time and effort spent by Waymo pursuing the
23

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                                                    62
                         FIRST LIST OF ASSERTED TRADE SECRETS PURSUANT
                              TO CAL. CODE CIV. PROC. SECTION 2019.210
                                       Case No. 17-cv-00939-WHA
